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                       IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF MARYLAND
                                    at Baltimore

       In re:                                  *
                                               *
       Roman Catholic Archbishop of Baltimore, *            Case No. 23-16969-MMH
                                               *
       Debtor.                                 *            Chapter 11
                                               *
       *      *     *     *       *      *     *            *      *       *      *       *

      PROTOCOL AND REGISTRATION FOR VIRTUAL ATTENDANCE FOR
                  STATUS HEARING ON JUNE 2, 2025

I.     Connecting to Hearing for Party Participants

       Each party in this case who is participating in the videoconference hearing must register
       for the hearing by emailing the individual’s name, affiliation, and the case number to the
       Courtroom Deputy at Hearings_MMH@mdb.uscourts.gov. Registration must be
       completed by 3:00 p.m., ET on May 30, 2025. Each individual who registers for the
       videoconference hearing will receive connection information for the hearing at least 4
       hours prior to the start time of the hearing (unless the emergency nature of any given
       hearing makes such timing impractical).*

       Each individual must connect to the hearing at least 15 minutes prior to the start time of
       the scheduled hearing.

       Participants should email the Court at Hearings_MMH@mdb.uscourts.gov or call the
       Court at 410-962-2820 if they experience any technical issues during the hearing, including
       if they are disconnected or cannot enter the hearing.

       All participants are asked to place their lines on mute upon connecting and to remain
       on mute during the pendency of the hearing.

II.    Non-Party Participation

       The Court will post and enter on the docket dial-in information for the audio listen-only
       line for all other participants.*

       A transcript or audio recording of the hearing may be requested by accessing the court’s
       website at: https://www.mdb.uscourts.gov/case-info/court-operations-specialists.


*Pursuant to Local Bankruptcy Rule 5070-1(a), no party (other than the Court) may record or
otherwise capture the audio or video of the Hearing in any manner. The Court will create an
official recording of the Hearing.
